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                  UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA




   MICHAEL GRECCO                         CV 19-4776 DSF (PJWx)
   PRODUCTIONS, INC.,
       Plaintiff,                         Order GRANTING Motion to
                                          Dismiss First Amended
                    v.                    Complaint (Dkt. No. 29)

   ZIFF DAVIS, LLC,
        Defendant.



      The Court previously dismissed Plaintiff’s copyright complaint as
   barred by the statute of limitations. Leave to amend was granted to
   allow Plaintiff to add facts to support its assertion that it had no reason
   to know of the alleged infringement prior to the 2018 discovery date.
   Plaintiff filed an amended complaint and Defendant again moved to
   dismiss. The Court deems this matter appropriate for decision without
   oral argument. See Fed. R. Civ. P. 78; Local Rule 7-15. The hearing
   set for November 25, 2019 is removed from the Court’s calendar.

      The amended complaint differs from the original complaint in
   almost no material way. The only relevant changes are that Plaintiff
   added the fact that it discovered the alleged infringement by way of a
   reverse image search, FAC ¶ 21, and the fact that “[p]rior to
   discovering Defendant’s unauthorized use of the Images, MGP was not
   aware of Defendant or Defendant’s Websites, nor had never been aware
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   of any of its photographs being used by Defendant or on any of
   Defendant’s Websites.” FAC ¶ 22. 1

      These allegations do nothing to address the Court’s prior holding
   that Plaintiff did not “plead any facts that would suggest that it had no
   reason to know of the infringement prior to [the date of actual
   discovery].” The complaint and the amended complaint both directly
   allege that the allegedly infringing websites receive extremely heavy
   traffic. See FAC ¶¶ 16-19. There is no allegation that the alleged
   infringement was anything but open and discoverable since the first
   postings in 2014. Plaintiff does not allege that the reverse image
   search functionality that it used to discover the alleged infringement
   was not available until 2018. Nor could it, because Google appears to
   have first implemented that functionality in 2011. See Jason Kincaid,
   Google Search by Image: Use a Snapshot as Your Search Query,
   https://techcrunch.com/2011/06/14/google-search-by-image-use-a-
   snapshot-as-your-search-query (June 14, 2011).

      Whatever the scope of the discovery rule, the Court declines to find
   that it creates an effectively open-ended statute of limitations for
   unconcealed copyright infringement on a massively trafficked website.
   The motion to dismiss is GRANTED. The Court declines to grant leave
   to amend because the very minor, mostly conclusory amendments made
   between the original and the amended complaint show that Plaintiff
   knows no facts that it could allege to escape the statute of limitations
   bar.

       IT IS SO ORDERED.




       Date: November 18, 2019                 ___________________________
                                               Dale S. Fischer
                                               United States District Judge

   1This is the “corrected,” though still not correct, language of the First
   Amended Complaint. Dkt. 26.



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